Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 1 of 12 PageID# 258




                  EXHIBIT 1
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 2 of 12 PageID# 259
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 3 of 12 PageID# 260
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 4 of 12 PageID# 261
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 5 of 12 PageID# 262
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 6 of 12 PageID# 263
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 7 of 12 PageID# 264
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 8 of 12 PageID# 265
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 9 of 12 PageID# 266
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 10 of 12 PageID# 267
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 11 of 12 PageID# 268
Case 1:19-cr-00270-LO Document 20-1 Filed 01/13/20 Page 12 of 12 PageID# 269
